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Recipients submitted to the BNC (Bankruptcy Noticing Center):
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ptcrd       David L. Rings         1288 Frontage Road           Russell Springs, KY 42642
ptcrd       Southeast Livestock Exchange LLC            PO Box 1306            Waynesville, NC 28786
ptcrd       Moseley Cattle Auction, LLC           1044 Arlington Avenue            Blakely, GA 39823
op          Elizabeth M. Lynch           Development Specialists, Inc.         6375 Riverside Drive         Suite 200        Dublin,
            OH 43017
cr          First Bank and Trust Company, The            c/o Ayres Carr &Sullivan, P.C.          251 East Ohio Street, Suite
            500        Indianapolis, IN 46204−2184
cr          Republic Bank and Trust Company             661 South Hurstbourne Parkway             Louisville, KY 40222
cr          Gary S. Bell        PO Box 122          Edmonton, KY 42129
op          National Cattlemen's Beef Association           c/o Alice Devine          6031 SW 37th St.        Topeka, KA 66610
ptcrd       Southland Haulers, LLC           Howard &Myra Compton               P O Box 142         Bratley, AL 36009
ptcrd       Ike's Trucking, Inc.        Ike and Cherie Jacobs         3087 Ervin Town Rd.           Castlewood, VA 24224
ptcrd       Breeding Brothers          Attn: Wade Breeding          9440 Columbia Hwy.            Greensburg, KY 42743
ptcrd       BBFarms          Attn: Keith Breeding          8090 Greensburg Road            Greensburg, KY 42743
ptcrd       Jeremy Coffey          6205 Greensburg Road            Columbia, KY 42728
ptcrd       Brent Keith        505 Marlo−Campbell Road              Columbia, KY 42728
ptcrd       Dennis Neat         6198 Burkesville Road           Columbia, KY 42728
ptcrd       Billy Neat        705 B. Neat Road         Columbia, KY 42728
ptcrd       Jimmy Brummett            7594 Hwy. 555          Glens Fork, KY 42741
ptcrd       Mike Loy         668 P.D. Pyles Road           Columbia, KY 42728
ptcrd       Superior Livestock Auction, Inc.         1155 North Colorado Ave.             Bush, CO 80723
ptcrd       Gary S. Bell        P.O. Box 122         Edmonton, KY 42129
op          David L. Abt         210 N Main St         PO Box 128           Westby, WI 54667
cr          Eddie Eicke        Eicke Ranch II         1188 County Rd 1202             Snyder, TX 79549
cr          Heritage Feeders LP          c/o Crowe &Dunlevy           20 North Broadway           Suite 1800         Oklahoma City, ok
            73102
cr          Bobby Bynum           P. O. Box 43         Rankin, TX 79778 UNITED STATES
cr          Bill Davis       7726 W. FM 2335            Christoval, TX 76935 UNITED STATES
cr          Johnny Mayo, Jr.         P. O. Box 317          Eldorado, TX 76936 UNITED STATES
cr          Frank Powell         700 W. Denger          Midland, TX 79705 UNITED STATES
cr          Davis Quarter Horse          7726 W. FM 2335            Christoval, TX 76935 UNITED STATES
cr          Tom Svoboda           3065 AA Avenue            Herrington, KS 67449 UNITED STATES
cr          Bynum Ranch Co.            P. O. Box 104         Sterling City, TX 76951 UNITED STATES
cr          Florida Association Livestock Markets           P.O. Box 421929            Kissimmee, FL 34742−1929
cr          Gene Shipman           11401 E. Fm 1075           Happy, TX 79042
cr          Gabriel Moreno          c/o Todd J. Johnston          McWhorter, Cobb &Johnson            1722 Broadway           Lubbock,
            TX 79401
cr          Gabriel Moreno          c/o Timothy T. Pridmore           McWhorter, Cobb &Johnson             1722
            Broadway          Lubbock, TX 79401
cr          Estate of John S. Gibson, Anna Gayle Gibson, Execu             13140 Nebo Rd           Providence, KY 42450
cr          Gibson Farms. LLC            13140 Nebo Rd.          Providence, KY 42450
cr          Bovine Medical Associates, LLC           1500 Soper Road            Carlisle, KY 40311
cr          Phillip Taylor Reed         a/k/a Taylor Reed
op          Greenebaum Doll &McDonald PLLC                  3500 National City Tower           101 South Fifth Street      ?Louisville,
            KY 40202−3103
cr          Todd Rosenbaum            P.O. Box 141          Glade Spring, VA 24340
cr          Rosenbaum Feeder Cattle Company, LLC                P.O. Box 141          Glade Spring, VA 24340
cr          Rex Elmore         1817 Tobacco Road            Glasgow, KY 42141−8486
cr          Lytle Street Development          c/o Edward C. Airhart          440 South Seventh Street         Louisville, KY
            40203−1967
cr          Cullman Stockyard, Inc.          c/o Thomas C. Scherer, Esq.          Bingham McHale LLP             2700 Market
            Tower         10 West Market Street         Indianapolis, IN 46204
cr          Russell DeCordova d/b/a deCordova Cattle Company                c/o Jeffrey J. Graham        Taft Stettinius &Hollister
            LLP         One Indiana Square, Suite 3500           Indianapolis, IN 46204
mdb         Okie Farms, L.L.C.          135 W. Market Street          New Albany, IN 47150
aty         Ashley S Rusher          Blanco Tackabery &Matamoros PA               PO Drawer 25008           Winston−Salem, NC
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